Case 1:17-cv-01535-YK Document 1 Filed 08/28/17 Page 1 of 14
1344 (R‘W- °6/17> CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor sup lement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Con erence of the nited States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXTPAGE OF THIS FDRM.)

 

I. (a) PLAINTIFFS DEFENDANTS
Evan Wi||iams, Admin. of the Estate of Ju|ia D. Wi||iams & Brian & Audencio Mendoza, Cano & Sons Trucking, LLC, and
Renee Wetze|, Admins. of the Estate of Ha|ey N. Wi||iams Wetze| O|ympus Freight Lines, LLC

County of Residence of First Listed Defendant Sfaf_e_O_f__'l_'§l(a_S

(b) County of Residence of First Listed Plaintiff SChU_yBiil____ ,~‘ _
(EXCEPT]N U.S. PLAINTIFF CASES) (IN U.S. PLA[NTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(C) Attot‘neys (Firm Name, Addre.r.\', and Telephone Numb¢'r) Attomeys ”fKn““'")
Frederick J. Fane||i, Esq., Fane||i, Evans & Pate|, P.C. Ross DiBono, Esq., Zarwin, Baum, 1818 Market St., 13th F|oor
NO. 1 Mahantongo Streef, POttSvi|Ie, PA 1790‘1 (570) 622-2455 Philadelphia, PA 19103-3638 (215) 569-2800
II. BASIS OF JURISDICTION (Place an "X" in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES {Place an ‘X" in One Boxfor Plaimi[
(For Diversity Case.\' Only) and 0ne onfar Defendanl)
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of Business ln This State
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Defendant (Indicate Citizem'hip afPurlies in Item ll]) ofBusiness In Another State
Citizen or Subject ofa Cl 3 D 3 Foreign Nation Cl 6 Cl 6
Foreign Count_ry
IV. NATURE OF SUIT mm an 'X in one sex only) click here for: Narure o t suit Code Desm' eions.
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D 130 Miller Act Cl 315 Airplane Product Product Liability Cl 690 Other 28 USC 157 3729(a))
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D 150 Recovery of Over'payment Cl 320 Assault, Libel & Pharmaceutical REQPER! x §LQE l:§ El 410 Antitrust
& Enforcemcnt of Judgmcnt Slander Personal Injury Cl 820 Copyrights D 430 Banks and Banking
[J 151 Medicare Act Cl 330 Federal Employers’ Product Liability El 830 Patent Ci 450 Commerce
D 152 Recovery of Defaulted Liability Cl 368 Asbestos Personal D 835 Patent - Abbreviated EJ 460 Deponation
Student Loans EI 340 Marine Injury Product New Drug Application D 470 Racketeer lntluenced and
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El 190 Other Contract Product Liability Cl 380 Other Persona| CI 720 Labor/Management U 863 DIWC/DIWW (405(g)) Exehange
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El 196 Franchise Injury El 385 Property Damage D 740 Railway Labor Act Cl 865 RSI (405(g)) D 891 Agricultural Acts
Cl 362 Personul Injury - Product Liability El 751 Family and Medical Cl 893 Environmental Matters
Medical M_a_l£r_acticc Leavc Act 13 895 Frcedom of Information
l g PEOPERTY CIVIL RIGHTS P§BNER PETITIONS El 790 Other Labor Litigation FEDERAL TAX SUII§ Act
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Cl 245 Ton Product Liability Accommodations El 530 General Cl 950 Constitutionality of
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Employment Other: IJ 462 Naturalization Application
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(specijj)) Trarrsfer Direct File
Cite the U.S. Civil Statute under Which you are filing (Do not cite jun`sdr`ctl`onal statutes unless diversity):
28 U.S.C. 1332(8) (1)

Brief description of cause:
Motor vehicle accident involving parties with complete diversity

VI. CAUSE OF ACTION

 

 

 

VII. REQUESTED IN El cHEcK IF THls rs A cLAss A_CTloN DEMAND $ CHECK YES only if demanded in complainf=
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08/28/2017 /' " /"'"

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RECEIPT # AMOUNT FPLYING IFP JUDGE MAG. JUDGE

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IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

EVAN WILLIAMS, Administrator
of the Estate of Julia D. Williams,
Deceased,

1238 Cedar Street

Pottsville, PA 17901

And

BRIAN S. WETZEL & RENEE M. WETZEL
Co-Administrators of the Estate of
Haley N. Williams Wetzel, Deceased
1238 Cedar Street
Pottsville, PA 17901
Plaintiffs

VS.

AUDENCIO MENDOZA
6208 S. Galaxy Drive
Pharr, TX 7 8577

CANO & SONS TRUCKING, LLC
109 Dicker Road
San Juan, TX 78589-4795

And
OLYMPUS FREIGHT LINES, LLC
7108 N. 5th Street
McAllen, TX 78504
Defendants

_C__Q_Ml_’L_A_lN_T

Docket No.

JURY TRIAL DEMANDED

AND NOW, come the Plaintiffs, Evan Williams, Administrator of the Estate of Julia D.

Williams, Deceased, Brian S. Wetzel and Renee M. Wetzel, Co-Administrators of the Estate of

Haley N. Williams Wetzel, Deceased, and file this Complaint against the Defendants, Audencio

Mendoza, Cano & Sons Trucking LLC, and Olympus Freight Lines, LLC, upon causes of action

of which the following is a statement:

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The Par'ties

1. The Plaintiff, Evan Williams, is an adult individual domiciled at 1238 Cedar
Street, Pottsville, Schuylkill County, Pennsylvania, 17901. Evan Williams is the administrator
of the estate of his deceased Wife, Julia D. Williams, by Letters of Administration of the
Schuylkill County Register of Wills dated July 7, 2017.

2. Plaintiffs, Brian S. Wetzel and Renee M. Wetzel, are adult individuals domiciled
at 1238 Cedar Street, Pottsville, Schuylkill County, Pennsylvania, 17901. Brian S. Wetzel and
Renee M. Wetzel are the co-administrators of the estate of their deceased daughter, Haley N.
Williams Wetzel, by Letters of Administration of the Schuylkill County Register of Wills dated
July 7, 2017.

3. The Defendant, Audencio Mendoza, is an adult individual domiciled at 6208 S.
Galaxy Drive, Pharr, Texas, 78577. At all times relevant hereto, Audencio Mendoza Was an
agent and/or employee of Defendant, Cano & Sons Trucking, LLC.

4. The Defendant, Cano & Sons Trucking, LLC, (hereinafter “Cano & Sons”) is a
corporation organized, existing and domiciled under the laws of the state of Texas, With an
address of 109 Dicker Road, San Juan, Texas 78589.

5. The Defendant, Olympus Freight Lines, LLC (hereinafter “Olympus”) is a
corporation organized, existing and domiciled under the laws of the state of Texas, with an
address of 7108 N. 5th Street, McAllen, Texas 78504.

Jurisdiction and Venue

6. This Court has jurisdiction over this action as the subject June 22, 2017 fatal
crash occurred within the jurisdictional confines of the Middle District of Pennsylvania, diversity
of citizenship is met and the amount in controversy exceeds the minimum threshold required to

maintain an action in the F ederal Courts.

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7. Venue is proper in the United States District Court for the Middle District of
Pennsylvania pursuant to 28 U.S.C. § 1337(e)(2) since all Plaintiffs are domiciled within the
jurisdictional confines of the United States District Court for the Middle District of Pennsylvania
and Defendants regularly conduct business Within the jurisdictional confines of the United States
District Court for the Middle District of Pennsylvania. Also, the subject June 22, 2017 fatal
crash occurred in the Middle District of Pennsylvania.

The June 22, 2017 Motor Vel_licle Crash

8. On or about June 22, 2017, Haley N. Williams Wetzel driving a 2011 Hyundai
Tucson and was traveling north on Interstate 81 near mile marker 90 in Union ToWnship,
Lebanon County, Pennsylvania, at approximately 8:35 p.rn. Julia D. Williams was the front seat
passenger in the vehicle driven by her granddaughter, Haley N. Wetzel.

9. At the same time, a 2011 Kenworth tractor trailer owned by Defendant, Olympus,
and operated by the Defendant, Audencio Mendoza, was traveling south on Interstate 81 in the
same area.

10. At all times relevant, Defendant Aundencio Mendoza was in the scope and course
of his employment with Defendant Cano & Sons.

11. On June 22, 2017, at approximately 8:35 p.m., it was dark and rainy with poor
visibility on Interstate 81 near mile marker 90 in Union Township, Lebanon County,
Pennsylvania.

12. Defendant Audencio Mendoza lost control of the tractor trailer he was driving,
crossed the center median of Interstate 81, and struck the vehicle being driven by Haley N.

Williams Wetzel and occupied by Julia D. Williams causing them to suffer fatal injuries.

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Negligence of Defendant, Audencio Mendoza

13. The June 22, 2017 motor vehicle crash as described above was caused by the
negligence of the Defendant Audencio Mendoza which consisted of the following:

(a) Traveling too fast for weather conditions then and there existing;

(b) Traveling in excess of the posted speed limit;

(c) Failing to maintain control of the tractor trailer;

(d) Operating the tractor trailer in a reckless manner in total disregard for
Plaintiffs’ decedents and others on the roadway by leaving the proper lanes of
travel, crossing a large median and crashing into Plaintiffs’ vehicle;

(e) “Overdriving” at night as defined by the U.S. Department of Transportation’s
Federal Motor Carriers Safety Administration;

(f) Violating Section 3301 (a) of the Pennsylvania Motor Vehicle Code for
driving on the wrong side of the roadway;

(g) Operating a tractor trailer With insufficient tire tread;

(h) Driving when fatigued or tired to the extent that it prevented him from driving
in the right lanes of travel;

(i) Failing to keep a proper lookout and observe the roadway, median and
opposite lane of travel;

(j) F ailing to stop his vehicle either by regular brakes, emergency brakes,
reducing gear or other manners to avoid colliding with the Plaintiffs’ vehicle;

(k) Being inattentive or distracted using a cell phone or other communicative
devices.

14. As a result of the negligence of Defendant Audencio Mendoza, Plaintiffs’

decedents were killed.

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15.

Primarv Li_abilitv of Defend_ant. Cano & Sons Trucking, LLC

The June 22, 2017 motor vehicle crash as described above was caused by the

negligence of the Defendant Cano & Sons which consisted of the following:

16.

were killed.

17.

(a) Negligently hiring and training Defendant Audencio Mendoza;

(b) Negligently retaining Defendant Audencio Mendoza as an employee;

(c) Creating a working environment that created the likelihood that Defendant
Audencio Mendoza would operate a motor vehicle in the manner in Which it
was operated at the time of the accident;

(d) Negligently managing and supervising its employees;

(e) Creating undue and inappropriate working conditions and stresses in the
workplace;

(t) Creating unreasonable and overly burdensome working conditions that caused
excessive stress, anxiety and fatigue upon its employees, including but not
limited to Defendant Audencio Mendoza;

(g) Failing to make sure the tractor trailer owned by Defendant Olympus and
driven by its employee Audencio Mendoza was in good, proper condition,
including the tires;

(h) Failing to equip the vehicle with safety devices.

As a result of the negligence of Defendant Cano & Sons, Plaintiffs’ decedents

Vicarious Liabilitv of Defenda_nt, Cano & Sons Trucking. LLC

Defendant Cano & Sons is legally responsible under the doctrine of respondeat

superior for the actions and inactions of Defendant Audencio Mendoza, described more fully

above.

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18. As a result of the negligence of Defendant Cano & Sons’ agent, servant, or
employee, Defendant Audencio Mendoza, Plaintiffs’ Decedents were killed.
Liabilitv of Defendant. Olvmpus Freight Linesa LLC
19. The J urie 22, 2017 motor vehicle crash, as described above, was caused by the
negligence of the Defendant, Olympus, which negligence consisted of the following:
(a) F ailing to put safe trucks on the road in total disregard for Plaintiffs’
decedents and others on the roadway;
(b) Negligently maintaining the tractor trailer;
(c) Failing to inspect the tractor trailer to ensure its safety on the road in total
disregard for Plaintiffs’ decedents and others on the roadway;
(d) Placing a tractor trailer on the roadway with insufficient tire tread;
(e) Failing to ensure a competent, fit and qualified driver was operating the
vehicle;
(f) Failing to equip the truck with proper safety devices.
20. As a result of the negligence of the Defendant Olympus, Plaintiffs’ decedents

were killed.

COUNT I

Evan Williams, Administrator of
the Estate of JlM D. Williams. Deceased

§
All Defendants

Wrongful Death Action
21. Paragraphs l through 20 above are fully incorporated

22. As a result of the negligence of the Defendants as set forth above, Julia D.

Williams died of multiple injuries sustained in the June 22, 2017 crash.

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23. Plaintist decedent did not bring any action during her lifetime, nor has any other
action for the death of Plaintiff’s decedent been commenced against Defendants.

24. Plaintiff’ s decedent died intestate She is survived by her husband, Evan
Williams, 1238 Cedar Street, Pottsville, Schuylkill County, Pennsylvania, and her adult children,
Renee M. Wetzel, 1238 Cedar Street, Pottsville, Schuylkill County, Pennsylvania, and Eric
Williams, 306 Front Street, Pottsville, Pennsylvania, all of whom are heirs of her estate.

25 . Plaintiff, Evan Williams, as Administrator of the Estate of Julia D. Williams, has
a right to and does bring this action under and by virtue of the Act of Legislature of the
Commonwealth of Pennsylvania known as the “Wrongli.ll Death Act,” 42 Pa. C.S.A. §8301 and
20 Pa. C.S.A. §3373.

26. Plaintiff, Evan Williams, claims damages for the pecuniary loss suffered as a
result of the death of Julia D. Williams, including reimbursement of hospital, medical and
funeral expenses, expense of administration and other expenses incurred in connection therewith,
and all other damages compensable, including but not limited to, loss of support, contribution,
services, society, comfort guidance, tutelage and moral upbringing under the Wrongful Death
Act.

WHEREFORE, Plaintiff, Evan Williams, Administrator of the Estate of Julia D.
Williams, deceased, respectfully requests this Honorable Court enter judgment in his favor and
against Defendants, Audencio Mendoza, Cano & Sons Trucking, LLC, and Olympus Freight

Lines, LLC, in an amount which exceeds $75,000.00, exclusive of interest and costs.

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COUNT II

Evan Williams, Administrator of
the EBte of Julia D. Williams, Deceagd

gs_.
All Defendants
Survival Action

27. Paragraphs 1 through 26 inclusive above are fully incorporated

28. The Plaintiff, Evan Williams, Administrator of the Estate of Julia D. Williams,
Deceased, also brings this action on behalf of the Estate of Julia D. Williams, under and by virtue
of the Act of Legislature of the Commonwealth of Pennsylvania known as the “Pennsylvania
Survival Act,” 42 Pa. C.S.A. §8302 and 20 Pa. C.S.A §§3371 and 3373.

29. The Plaintiff, Evan Williams, Administrator of the Estate of Julia D. Williams,
Deceased, also claims on behalf of the estate of Plaintiff’ s decedent damages for the conscious
pain and suffering undergone by Plaintiff’ s decedent as a result of the negligence of the
Defendants herein up to and including the time of her death.

30. As a result of the death of Julia D. Williams, her estate has been deprived of the
economic value of the decedent’s life during the period of her life expectancy, and Plaintiff, as
Administrator of the Estate of Julia D. Williams, claims damages for the pecuniary loss suffered
by the estate as a result of her death, as well as for damages for the medical expenses incurred by
Plaintif`f’s decedent as a result of the negligence of the Defendants herein, their agents, servants,
and employees, up to and including the time of her death.

31. Punitive damages are available under a survival cause of action when actions or
inactions demonstrate intentional, willful, wanton, or reckless conduct.

32. Defendant Audencio Mendoza’s actions in causing and creating this accident was

intentional, willful, wanton or reckless in that he intentionally was operating a vehicle With bald

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tires and in poor condition at an excessive speed or a speed which caused him to leave the lane of
travel, cross a large median barrier and travel into the opposite lane of travel on an interstate
highway. lt is also believed and therefore averred that Defendant was fatigued, incompetent and
unfit at the time to operate the truck and was reckless in failing to pull over and stop the truck
before the crash.

33. Defendants Cano & Sons and Olympus are vicariously liable for the punitive
damages of Defendant Audencio Mendoza.

34. Defendant Cano & Sons is also independently liable for punitive damages
because their conduct was intentional, Willful, wanton or reckless in that Defendant knew or
should have known that Audencio Mendoza was a fatigued, competent and unfit driver,
untrained, and that the vehicle was in disrepair and contained inadequate safety devices to
prevent the crash.

35. Defendant Olympus is also independently liable for punitive damages because
their conduct was intentional, willful, wanton or reckless in that Defendant knew or should have
known that Audencio Mendoza was a fatigued, competent and unfit driver, untrained, and that
the vehicle was in disrepair and contained inadequate safety devices to prevent the crash.

WHEREFORE, Plaintiff, Evan Williams, Administrator of the Estate of Julia D.
Williams, deceased, respectfully requests this Honorable Court enter judgment in his favor and
against Defendants, Audencio Mendoza, Cano & Sons Trucking, LLC, and Olympus Freight

Lines, LLC, in an amount which exceeds $75,000.00, exclusive of interest and costs.

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COUNT III
Brian S. Wet£el an(_l Renee M. Wet_zel. Co-Administrators of
the Estate of Haflev N. Willi_ams Wet_zel, Deceased

v_s.
All Defendants

Wrongful Death Action

36. The averments of paragraphs 1 through 35 inclusive are incorporated herein by
this reference as though set forth fully at length.

37. As a result of the negligence of the Defendants, and each of them, as set forth
more fully above, Haley N. Williams Wetzel died of multiple injuries sustained in the June 22,
2017 crash.

38. Plaintiffs’ decedent did not bring any action during her lifetime, nor has any other
action for the death of Plaintiffs’ decedent been commenced against Defendants herein,

39. Plaintiff’s decedent died intestate. She is Survived by her parents, Brian S. Wetzel
and Renee Wetzel, 1238 Cedar Street, Pottsville, Schuylkill County, Pennsylvania, all of whom
are heirs of her estate.

40. Plaintiffs, Brian S. Wetzel and Renee M. Wetzel, as Co-Administrators of the
Estate of Haley N. Williams Wetzel, have a right to and do bring this action under and by virtue
of the Act of Legislature of the Commonwealth of Pennsylvania known as the “Wrongful Death
Act,” 42 Pa. C.S.A. §8301 and 20 Pa. C.S.A. §3373.

41. Plaintiffs, Brian S. Wetzel and Renee M. Wetzel, claim damages for the pecuniary
loss suffered as a result of the death of Haley N. Williams Wetzel, including reimbursement of
hospital, medical and funeral expenses, expense of administration and other expenses incurred in

connection therewith, and all other damages compensable, including but not limited to, loss of

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support, contribution, services, society, comfort guidance, tutelage and moral upbringing under
the Wrongful Death Act.

WHEREFORE, Plaintiff, Brian S. Wetzel and Renee N. Wetzel, Co-Administrators of
the Estate of Haley N. Williams Wetzel, deceased, respectfully requests this Honorable Court
enter judgment in his favor and against Defendants, Audencio Mendoza, Cano & Sons Trucking,
LLC, and Olympus Freight Lines, LLC in an amount which exceeds $75,000.00, exclusive of
interest and costs.

COUNT IV
Brian S. Wetzel and Renee M. Wetz_el1 Co-Admini§trators of
the E_state of Halev N. Williams Wetz_el, Decezgd
All De§rdants
Survival Action

42. Paragraphs 1 through 41 above are fully incorporated

43. Plaintiffs, Brian S. Wetzel and Renee M. Wetzel, Co-Administrator of the Estate
of Haley N. Williams Wetzel, Deceased, also bring this action on behalf of the Estate of Haley
N. Williams Wetzel, under and by virtue of the Act of Legislature of the Commonwealth of
Pennsylvania known as the “Pennsylvania Survival Act,” 42 Pa. C.S.A. §8302 and 20 Pa. C.S.A
§§3371 and 3373.

44. Plaintiffs, Brian S. Wetzel and Renee M. Wetzel, Co-Administrator of the Estate
of Haley N. Williams Wetzel, Deceased also claim on behalf of the estate of Plaintiffs’ decedent
damages for the conscious pain and suffering undergone by Plaintiffs’ decedent as a result of the
negligence of the Defendants herein up to and including the time of her death.

45. As a result of the death of Haley N. Williams Wetzel, her estate has been deprived

of the economic value of the decedent’s life during the period of her life expectancy, and

ll

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Plaintiffs, as Co-Administrators of the Estate of Haley N. Williams Wetzel, claim.damages for
the pecuniary loss suffered by the estate as a result of her death, as well as for damages for the
medical expenses incurred by Plaintiffs’ decedent as a result of the negligence of the Defendants,
their agents, servants, and employees, up to and including the time of her death.

46. Punitive damages are available under a survival cause of action when actions or
inactions demonstrate intentional, willful, wanton, or reckless conduct.

47. Defendant Audencio Mendoza’s actions in causing and creating this accident was
intentional, willful, wanton or reckless in that he intentionally was operating a vehicle with bald
tires and in poor condition at an excessive speed or a speed which caused him to leave the lane of
travel, cross a large median barrier and travel into the opposite lane of travel on an interstate
highway. It is also believed and therefore averred that Defendant was fatigued, incompetent and
unfit at the time to operate the truck and was reckless in failing to pull over and stop the truck
before the crash.

48. Defendants Cano & Sons and Olympus are vicariously liable for the punitive
damages of Defendant Audencio Mendoza,

49. Defendant Cano & Sons is also independently liable for punitive damages
because their conduct was intentional, willfi,il, wanton or reckless in that Defendant knew or
should have known that Audencio Mendoza was a fatigued, competent and unfit driver,
untrained, and that the vehicle was in disrepair and contained inadequate safety devices to
prevent the crash.

50. Defendant Olympus is also independently liable for punitive damages because
their conduct was intentional, willful, wanton or reckless in that Defendant knew or should have
known that Audencio Mendoza was a fatigued, competent and unfit driver, untrained, and that

the vehicle was in disrepair and contained inadequate safety devices to prevent the crash.

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WHEREFORE, Plaintiffs, Brian S. Wetzel and Renee M. Wetzel, Co-Administrators of

the Estate of Haley N. Williams Wetzel, deceased, respectfully request this Honorable Court

enter judgment in their favor and against Defendants, Audencio Mendoza, Cano & Sons

Trucking, LLC, and Olympus Freight Lines, LLC, in an amount which exceeds $75,000.00,

exclusive of interest and costs.

Respectfully submitted,

FANELLI, EVANS & PATEL, P.C.

By:

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'Frea/éric£ ,‘). Fane”i/r/

FREDERICK J. FANELLI, ESQUIRE
I.D. No. 36672 - ffanelli fe la ers.com
SUDHIR R. PATEL, ESQUIRE

I.D. No. 75914 - atel fe la ers.com
The Necho Allen _ No. 1 Mahantongo St.
Pottsville, PA 17901

(570) 622-2455

COUNSEL FOR PLAINTIFFS

